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October 28, 2018

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     Plaintiffs’ letter-motion to compel production of documents in State of New York,
               et al. v. U.S. Dep’t of Commerce, et al., 18-CV-2921 (JMF).

Dear Judge Furman,

        Plaintiffs seek disclosure of seven withheld documents that were conveyed outside the
Commerce Department: (1) six that the Commerce Department disclosed to Mark Neuman; and
(2) one transmitted by James Uthmeier to John Gore. See Ex. 1. Defendants fail to meet their
burden of proving the claimed privileges apply. In re County of Erie, 473 F.3d 413, 418 (2d Cir.
2007). The parties were unable to resolve this dispute through meet-and-confer discussions.
Plaintiffs request, pursuant to this Court’s Rule 2(C), that the Court review these documents in
camera to determine whether to order their disclosure.

       1. Documents shared with Mark Neuman. Defendants advised Plaintiffs on October 24
and October 25 that six documents previously withheld on privilege grounds (AR 2021, 3731,
10249, 10285, 10296, COM_DIS 20920) had been shared with Mr. Neuman. Ex. 2; Ex. 3.
Disclosing these documents to Mr. Neuman waives those privileges.

        The attorney-client privilege (claimed for four documents) is waived because the
documents were not kept confidential. Mr. Neuman is not a lawyer and the documents were not
shared to obtain legal advice. Indeed, Plaintiffs previously contested an effort to shield records
shared with Mr. Neuman, and Defendants withdrew privilege claims conceding that the privilege
had been “mistakenly marked.” Docket No. 254, ¶ 15. Defendants now cite Trustees of Elec.
Workers Local No. 26 v. Trust Fund Advisors, 266 F.R.D. 1 (D.D.C. 2010), contending that a
third-party “consultant and trusted adviser” falls within the privilege. Ex. 2. But in that case, the
third parties were two attorneys and a paid investment advisor with a fiduciary relationship.
Trustees, 266 F.R.D. at 3-7. Mr. Neuman is not a lawyer, paid advisor, or fiduciary.

         The deliberative process privilege (claimed for five documents) is likewise waived. That
privilege protects inter- or intra-agency communications, Winfield, 2018 WL 716013, at *4; but
communications between Commerce and Mr. Neuman are not communications between
government agencies. During the meet-and-confer, Defendants stated that because Mr. Neuman
is a “trusted adviser,” Ex. 2, these communications were covered by the “consultant corollary”
identified in Department of Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1 (2001).
But in opposing Plaintiffs’ motion to depose Mr. Neuman, Defendants stated the opposite. See
Docket No. 346 (“Mr. Neuman . . . was not acting as a high-level advisor to Secretary Ross, but
rather was one of a large number of people who communicated information or opinions”).
Defendants cannot change facts when it suits their purposes. See Micilli v. Liddle & Robinson
LLP, No. 15-cv-2141 (JMF), 2016 WL 2997507, at * 4 (S.D.N.Y. May 23, 2016) (burden to
establish privilege is “not discharged by mere conclusory or ipse dixit assertions”).

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        The work-product protection (claimed for three documents) is waived as well.
Defendants make no claim that the disclosures to Mr. Neuman were in aid of litigation or that
they shared a “common adversary,” Medinol, Ltd. v. Boston Sci. Corp., 214 F.R.D. 113, 116
(S.D.N.Y. 2002). Defendants’ assertions that these privileges extend to Mr. Neuman refer only
to the attorney-client and deliberative process privileges, see Ex. 2, Ex. 3; and their privilege logs
do not even identify the selective disclosures or explain how work-product protection attaches to
Mr. Neuman, see Ex. 1. The work-product protection is waived.

        2. Note to Acting AAG John Gore. Defendants have withheld on claims of deliberative
process, attorney-client, and work product privilege a note from Mr. Uthmeier to Mr. Gore
(DOJ15197) that accompanied a copy of the August 2017 Uthmeier Memo (which the Court
separately considered at Docket No. 361). Defendants took the position during an October 26
meet-and-confer that any challenge to this privilege claim is untimely based on the October 24
status conference and subsequent scheduling order. (Docket No. 401.) Plaintiffs respectfully
disagree. At the status conference, Plaintiffs described the possible need to compel disclosure of
several documents in advance of Mr. Gore’s deposition, see Oct. 24 Tr. at 31; and the Court
directed next-day briefing in light of the timing of that deposition, id. at 32-33. Because
Plaintiffs learned new information about the withheld documents during the course of that status
conference – including that DOJ15197 is a handwritten Post-It note, id. at 31, which is not
reflected on the privilege log, see Ex. 1 – Plaintiffs concluded that instead of seeking to compel
disclosure before Mr. Gore’s deposition, they should determine whether other new facts could be
identified at the deposition to inform a privilege challenge. Information identified during the
deposition contradicts the privilege log and establishes that no privileges apply to the note. 1

        a. The deliberative process privilege applies to inter- or intra-agency documents that are
both predecisional and deliberative. Nat’l Council of La Raza v. Dep’t of Justice, 411 F.3d 350,
356 (2d Cir. 2005). Based on the date the note was prepared (also not included on the privilege
log, and discovered at Mr. Gore’s deposition), the note is post-decisional and therefore not
protected by the privilege. The record has established that Secretary Ross and Attorney General
Sessions spoke on September 17, 2017, the same day that the Attorney General’s aide told the
Secretary’s Chief of Staff “[f]rom what John [Gore] told me, it sounds like we can do whatever
you all need us to do.” Ex. 4. On September 22, Uthmeier called Gore, and they spoke about the
citizenship question. Ex. 5 (Gore dep. tr. 105); Ex. 4. Shortly after that, Mr. Gore received by
hand-delivery a copy of the Uthmeier Memo, with the accompanying note. Ex. 5 (Gore dep. tr.
106). These circumstances indicate that Commerce was conveying to the Justice Department
“whatever you all need us to do,” Ex. 4, making the note post-decisional and not privileged.

        If the deliberative process privilege does apply, the note should still be disclosed under
the balancing test set out in Winfield v. City of N.Y., 2018 WL 716013 (S.D.N.Y. Feb. 1, 2018).
The seriousness of the litigation and the role of the agency weigh heavily in favor of disclosure
here. See Tr. of Sept. 14 Conference, at 9-10. Even if disclosure may inhibit future candid
debate among agency actors, see id. at 10, the two remaining factors – relevance of the evidence,
and availability of other evidence – weigh in favor of disclosure. The circumstances surrounding

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  If the Court did intend the order at Docket No. 401 as a deadline for any challenge to this withholding (as opposed
to a deadline for pre-deposition challenge), Plaintffs respectfully seek leave to file out of time, especially in light of
new information that only became available to Plaintiffs during Mr. Gore’s deposition.

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the exchange of these materials from Uthmeier to Gore – including the proximity to the Ross-
Sessions call, the decision to hand-deliver a memo with a handwritten note that could easily have
been emailed, and other evidence that Commerce officials were mindful of the record they were
creating, Ex. 4 – suggest that the note contains relevant evidence of the Commerce Department’s
intent not available from another source. The withheld note also contrasts with Defendants’
production of many other communications conveying the Uthmeier Memo. Ex. 6. The note
should be reviewed in camera to determine whether it should be produced, in full or in part.

        b. The attorney-client privilege “protects communications (1) between a client and his or
her attorney (2) that are intended to be, and in fact were, kept confidential (3) for the purpose of
obtaining or providing legal assistance.” Brennan Ctr. for Justice v. DOJ, 697 F.3d 184, 207 (2d
Cir. 2012). The Gore deposition confirmed that the Commerce Department is not Mr. Gore’s
client. Ex. 5 (Gore dep. tr. 35-37). “Where one consults an attorney not as a lawyer but as a
friend or as a business adviser or banker, or negotiator . . . the consultation is not professional nor
the statement privileged.” In re Lindsey, 158 F.3d 1263, 1270 (D.C. Cir. 1998) (quoting 1
McCormick on Evidence § 88). In addition, Mr. Gore testified that the note did not solicit legal
advice from him, Ex. 5 (Gore dep. tr. 108), which contradicts the privilege log, see Ex. 1.
Because the handwritten note was not prepared for the purpose of obtaining legal assistance, the
privilege does not attach. See Erie, 473 F.3d at 420. Mr. Gore later gave conflicting testimony,
and stated that the note did request legal advice. Ex. 5 (Gore dep. tr. 111). At minimum, this
inconsistent testimony warrants in camera review of the note to determine whether the claim of
privilege is well-founded, or whether redaction is available. Erie, 473 F.3d at 421-22 & n.8 (2d
Cir. 2007) (discussing redaction and in camera review).

        c. The attorney work-product doctrine protects documents “that are prepared in
anticipation of litigation or for trial by or for another party or its representative.” Fed. R. Civ. P.
26(b)(3); see In re General Motors LLC Ignition Switch Litig., 80 F. Supp. 3d 521, 531
(S.D.N.Y. 2015). Mr. Uthmeier delivered his handwritten note to Mr. Gore in September 2017;
since Defendants assert that their decisionmaking process was not “initiated” until December
2017, AR 1313, Commerce could not reasonably have anticipated litigation months earlier.

        Even assuming work-product applies, that protection is not absolute; the Court can
compel disclosure where Plaintiffs have “substantial need . . . and cannot, without undue
hardship, obtain their substantial equivalent by other means.” Fed. R. Civ. P. 26(b)(3)(A)(ii).
Plaintiffs have demonstrated substantial need for disclosure of the note given the unusual
circumstances surrounding transmittal of the Uthmeier Memo to Mr. Gore. As the Court has
recognized and Defendants have acknowledged, the Commerce Department’s intent is at issue in
this case. New York v. U.S. Dep’t of Commerce, No. 18-cv-2921 (JMF), 2018 WL 4539659, at
*2-3 (Sept. 21, 2018). As described above, the timing and form of these materials strongly
indicate that they communicate the Commerce Department’s intent, because they were
responsive to the offer that Justice would do “whatever [Commerce] need[s] us to do.” Ex. 4.
At minimum, the note should be reviewed in camera to assess Plaintiffs’ request for Rule
26(b)(3)(A)(ii) disclosure on grounds of substantial need.

                                        Respectfully submitted,

                                        BARBARA D. UNDERWOOD

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